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                        EXHIBIT 25
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.,

         Plaintiffs,                                  Civil Action No. ________________

                       v.

  NATIONAL INSTITUTES OF HEALTH,
  et al.,

         Defendants.


                            Declaration of EZEMANARI M. OBASI, PhD

   I, Ezemenari M. Obasi, PhD, hereby declare:

1. I am the Vice President for Research and Innovation, a position I have held since 2024. As

   Vice President for Research and Innovation, I have oversight of Wayne State University’s

   Division of Research and Innovation, which includes sponsored programs administration,

   research integrity, technology commercialization, research and development programming,

   core facilities, university research centers/institutes, and federal affairs. Prior to holding this

   position, I was the Associate Vice President for Research and Professor at the University of

   Houston.

2. As the Vice President for Research and Innovation, I have personal knowledge of the matters

   set forth below, or have knowledge of the matters based on my review of information and

   records gathered by my staff.

3. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants



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   Policy Statement: Indirect Cost Rates, which purports to immediately reduce indirect costs

   payments to 15%.

4. Wayne State University is one of Michigan’s public Carnegie Research I universities. Over

   80% of grants awarded to Wayne State University during FY2024 were funded by the United

   States Department of Health and Human Services – 86% of those were awarded funding

   from the National Institutes of Health. Wayne State University is leading cutting-edge

   research in cancer biology and treatment, infectious diseases, cardiology, drug discovery,

   mental health, and population health studies focused on addressing the nation’s most pressing

   health challenges that have a high prevalence in our region. This research is supported by $80

   million from the NIH.

5. Wayne State University has a Negotiated Indirect Cost Rate Agreement (“NICRA”) with

   NIH, effective as of June 6, 2024. The Indirect Cost (“IDC”) Rate in Wayne State

   University’s NICRA is 54% for on-campus organized research.

6. Wayne State University’s total blended IDC rate for NIH funding is 54% for on-campus

   organized research.

7. NIH’s reduction of Wayne State University’s IDC rate[s] will eliminate approximately $18

   million in funding that Wayne State University’s uses to support its research programs. The

   loss of these funds will immediately impact Wayne State University’s ability to draw critical

   funds used to pay expenses associated with facilities operational costs and debt service,

   research personnel, clinical trials, grants management, regulatory compliance, core research

   facilities and services, equipment and supplies, to name a few.

8. Wayne State University next anticipates to draw funds on or around February 15, 2025. At

   that time, the reduced IDC rate will impact Wayne State University’s capacity to pay for



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   research personnel, debt service, facility costs, equipment maintenance agreements, grants

   management and regulatory functions that are required by notice of award terms and

   conditions.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 9th day of February, 2025, in Detroit, Michigan.



                                                      _______________________________

                                                      Ezemenari M. Obasi, PhD

                                                      Vice President for Research and Innovation

                                                      Wayne State University




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